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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Ronald H. Pratte,                               No. CV-19-00239-PHX-GMS
10                 Plaintiff,                        ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                 Defendants.
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16         Pending before the Court is the parties’ Stipulated Joint Motion To Extend Deadline

17   For Parties’ Responses To Respective Motions For Summary Judgment To February 15,
18   2021 (Doc. 59), and for good cause shown,

19         IT IS HEREBY ORDERED granting the parties’ Stipulated Joint Motion

20   (Doc. 59). The parties’ shall have an extension to February 15, 2021 in which to file
21   responses to the respective Motions for Summary Judgment (Docs. 55, 57). No further
22   extensions shall be granted absent compelling circumstances.

23         Dated this 21st day of January, 2021.

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